Case 2:25-cv-01376-LGD Document 1-1
CIVIL COVER SHEET

Revised 02.13.2025; Effective 02.17.2025

Filed 03/12/25

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The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the

purpose of initiating the civil docket sheet.

(SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

I. (a) PLAINTIFFS

Liliana Carolina Yanes

(b) County of Residence of First Listed Plaintiff

DEFENDANTS

(EXCEPT IN U.S. PLAINTIFF CASES)

(c) Attorneys (Firm Name, Address, and Telephone Number)
Moser Law Firm, P.C.

133C New York Ave, Huntington, NY 11743, United
States. 516-671-1150

NOTE:

Attorneys (/f Known)

Nilkhant 2 Car Wash, LLC d/b/a Bethpage Car Wash,
Rakeshbhai Patel, Darpan Patel and Ronak Patel

County of Residence of First Listed Defendant

(IN U.S. PLAINTIFF CASES ONLY)

IN LAND CONDEMNATION CASES, USE THE LOCATION OF
THE TRACT OF LAND INVOLVED.

Il. BASIS OF JURISDICTION (Place an “X" in One Box Only)

O | U.S. Government

(For Diversity Cases Only)

Ill. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X" in One Box for Plaintiff

and One Box for Defendant)

[x]3 Federal Question PTF DEF PTF DEF
Plaintiff (U.S. Government Not a Party) Citizen of This State 1 oO | Incorporated or Principal Place oO 4 C 4
of Business In This State
CJ 2 U.S. Government C4 Diversity Citizen of Another State Oo 2 Cc] 2 Incorporated and Principal Place oO 5 Cs
Defendant (Indicate Citizenship of Parties in Item Il) of Business In Another State
Citizen or Subject of a CL] 3 J 3 Foreign Nation OC 6 Cle
Foreign Country
IV. NATURE OF SUIT (Place an “x” in One Box Only) Click here for: Nature of Suit Code Descriptions.
| : CONTRACT ; __ TORTS FORFEITURE/PENALTY BANKRUPTCY OTHER STATUTES ]
110 Insurance PERSONAL INJURY PERSONAL INJURY | 625 Drug Related Seizure 422 Appeal 28 USC 158 ~ 375 False Claims Act
120 Marine 310 Airplane [_] 365 Personal Injury - of Property 21 USC 881 423 Withdrawal 376 Qui Tam (31 USC
130 Miller Act + 315 Airplane Product Product Liability T J690 Other 28 USC 157 3729(a))
140 Negotiable Instrument Liability O 367 Health Care/ INTELLECTUAL 400 State Reapportionment
150 Recovery of Overpayment i] 320 Assault, Libel & Pharmaceutical PROPERTY RIGHTS | | 410 Antitrust
& Enforcement of Judgment) Slander Personal Injury 820 Copyrights 430 Banks and Banking
151 Medicare Act r | 330 Federal Employers’ Product Liability $30 Patent 450 Commerce
H 152 Recovery of Defaulted Liability 368 Asbestos Personal 835 Patent - Abbreviated 460 Deportation
Student Loans = 340 Marine Injury Product New Drug Application 470 Racketeer Influenced and
(Excludes Veterans) 345 Marine Product Liability 840 Trademark Corrupt Organizations
(_] 153 Recovery of Overpayment Liability PERSONAL PROPERTY LABOR | 880 Defend Trade Secrets [_] 480 Consumer Credit
of Veteran’s Benefits 350 Motor Vehicle 370 Other Fraud 710 Fair Labor Standards Act of 2016 (15 USC 1681 or 1692)
[_] 160 Stockholders" Suits 355 Motor Vehicle 371 Truth in Lending Act 485 Telephone Consumer
[| 190 Other Contract Product Liability C] 380 Other Personal | }720 Labor/Management 7 SOCIAL SECURITY Protection Act
195 Contract Product Liability ail 360 Other Personal Property Damage Relations 861 HIA (1395ff) 490 Cable/Sat TV

H

196 Franchise

[._REALPROPERTY |

CJ 385 Property Damage
Product Liability

Injury
|_| 362 Personal Injury -
Medical Malpractice

es CIVIL RIGHTS —

740 Railway Labor Act

751 Family and Medical
Leave Act

790 Other Labor Litigation

H

|_| 210 Land Condemnation
220 Foreclosure

230 Rent Lease & Ejectment
240 Torts to Land

245 Tort Product Liability
L] 290 All Other Real Property

| 440 Other Civil Rights
441 Voting
442 Employment
443 Housing/
Accommodations
Pz] 445 Amer. w/Disabilities -

79] Employee Retirement
Income Security Act

G ION

862 Black Lung (923)

864 SSID Title XVI
|] 865 RSI (405(g))

863 DIWC/DIWW (405(g)) [_

850 Sccurities/Commoditics/
Exchange
890 Other Statutory Actions
r | 891 Agricultural Acts
T ] $93 Environmental Matters

__ FEDERAL TAX SUITS:

895 Freedom of Information

[| 870 Taxes (U.S. Plaintiff
or Defendant)

[_] 871 IRS—Third Party
26 USC 7609

Employment
| 446 Amer. w/Disabilities -
Other

| 448 Education

PRISONER PETITIONS
463 Alien Detainee
510 Motions to Vacate

[ | 530 General

[| 535 Death Penalty
540 Mandamus & Other
550 Civil Rights
560 Civil Detainee -

Conditions of

Habeas Corpus:
H
Sentence
Other:
555 Prison Condition
Confinement

462 Naturalization Application
465 Other Immigration
Actions

H

Act

896 Arbitration

899 Administrative Procedure
Act/Review or Appeal of
Agency Decision

|_] 950 Constitutionality of

State Statutes

V. ORIGIN (Place an “X” in One Box Only)

E] 1 Original
Proceeding

C2 Removed from
State Court

Remanded from
Appellate Court

O13

oA Reinstated or Oo § Transferred from
Another District

(specify)

Reopened

Transfer

6 Multidistrict
Litigation -

oO 8 Multidistrict
Litigation -
Direct File

VI. CAUSE OF ACTION

28 USC 1331

Cite the U.S. Civil Statute under which you are filing (De not cite jurisdictional statutes unless diversity):

Brief description of cause:
Employment Discrimination

VIL. REQUESTED IN [] CHECK IF THIS IS A CLASS ACTION DEMAND $ CHECK YES only if demanded in complaint:
COMPLAINT: UNDER RULE 23, F.R.Cv.P. $1,000,000 JURY DEMAND: [E]yes [JNo
VIII. RELATED CASE(S)
IF ANY (See instructions): jUDGE DOCKET NUMBER
DATE stpne J E OF ATTORNEY OF RECORD
03/11/2025 er

1. ouhicnibMiioaiaa

FOR OFFICE USE ONLY

RECEIPT #

AMOUNT

APPLYING IFP

JUDGE

MAG, JUDGE

CERTIFICATION CF ARBITRATION ELIGIBILITY

Local Arbitration Rule 83.7 provides that with certain exceptions, actions seeking money damages only in an amount not in excess of $150,000,
exclusive of interest and costs, are eligible for compulsory arbitration. The amount of damages is presumed to be below the threshold amount unless a
certification to the contrary is filed.

Case is Eligible for Arbitration (_]

, Steven J. Moser * counsel for Plaintiff(s)

action is ineligible for compulsory arbitration for the following reason(s):

, do hereby certify that the above captioned civil

monetary damages sought are in excess of $150,000.00 exclusive of interest and costs,
(-]_ the complaint seeks injunctive relief, or

(1 the matter is otherwise ineligible for the following reason:

DISCLOSURE STATEMENT - FEDERAL RULES CIVIL PROCEDURE 7.1

Identify any parent corporation and any publicly held corporation that owns 10% or more or its stocks. Add an additional page if needed.

RELATED CASE STATEMENT (Section Vill on the Front of this Form)

Please list all cases that are arguably related pursuant to Division of Business Rule 3 in Section VIII on the front of this form. Rule 3(a) provides that “A
civil case is “related” to another civil case for purposes of this guideline when, because of the similarity of facts and legal issues or because the cases
arise from the same transactions or events, a substantial saving of judicial resources is likely to result from assigning both cases to the same judge and
magistrate judge.” Rute 3(a) provides that “A civil case shall not be deemed “related” to another civil case merely because the civil case involves
identical legal issues, or the same parties.” Rule 3 further provides that “Presumptively, and subject to the power of a judge to determine otherwise
pursuant to paragraph (b), civil cases shall not be deemed to be “related” unless both cases are still pending before the court.”

NEW YORK EASTERN DISTRICT DIVISION OF BUSINESS RULE 1(d)(3)
If you answer “Yes” to any of the questions below, this case will be designated as a Central Islip case and you must select Office Code 2.

Is the action being removed from a state court that is located in Nassau or Suffolk County? Cves No

2. Is the action—not involving real property—being brought against United States, its officers or its employees AND the Yes (] No
majority of the plaintiffs reside in Nassau or Suffolk County?

3. If you answered “No” to all parts of Questions 1 and 2:
a. Did a substantial part of the events or omissions giving rise to claim or claims occur in Nassau or Suffolk yesL] No

County?
Yes] No

c. Is a substantial amount of any property at issue located in Nassau or Suffolk County? Yes[_] No
4. If this is a Fair Debt Collection Practice Act case, was the offending communication received in either Nassau or Suffolk County? [Wes[_] No

b. Do the majority of defendants reside in Nassau or Suffolk County?

(Note, a natural person is considered to reside in the county in which that person is domiciled; an entity is considered a resident of the county that is
either its principal place of business or headquarters, of if there is no such county in the Eastern District, the county within the District with which it has
the most significant contacts).

BAR ADMISSION

| am currently admitted in the Eastern District of New York and currently a member in good standing of the bar of this court.

Yes [ | No

Are you currently the subject of any disciplinary action (s) in this or any other state or federal court?
Yes (if yes, please explain yo

{ certify the Pee emo prone ave
th pxoicePteF bin iia,

Signature:

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